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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


    JOSHUA WILSON, ET AL.                            §
                                                     §
    v.                                               §   Civil Action No. 4:22cv438
                                                     §   Judge Mazzant
    LLOYD J. AUSTIN III, ET AL.                      §

                                                ORDER

           Before the Court is the Motion for Leave to File Amicus Curiae (Dkt. #18), filed by Pritish

    Vora, pro se. The Court finds the motion should be granted.

.          It is therefore ORDERED that the Motion for Leave to File Amicus Curiae (Dkt. #18) is

    GRANTED, and the Amicus Curiae Brief in Support of Plaintiffs’ Motion for Preliminary

    Injunction (Dkt. #19) is deemed filed.

           IT IS SO ORDERED.

          SIGNED this 11th day of August, 2022.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
